           Case 2:23-cv-03038-KJM-CSK Document 18 Filed 06/07/24 Page 1 of 2


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8                                   UNITED STATES DISTRICT COURT

9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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     DANIEL CERVANTES, individually and on          Case No. 2:23-cv-03038-KJM-CSK
11   behalf of all others similarly situated,
                                                    ORDER TO ALLOW PLAINTIFF TO FILE
12                    Plaintiff,                    FIRST AMENDED COMPLAINT
13         v.
14   PENNEY OPCO LLC, a Virginia Limited
     Liability Company; and DOES 1-10, inclusive,
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                      Defendants.
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                 ORDER GRANTING STIPULATION TO FILE AMENDED COMPLAINT
           Case 2:23-cv-03038-KJM-CSK Document 18 Filed 06/07/24 Page 2 of 2


1           The court having considered the parties’ Joint Stipulation and finding good cause, orders as
2    follows:
3               1. Plaintiff Daniel Cervantes shall have leave of this court to file his First Amended
4               Complaint pursuant to Fed. R. Civ. P. 15(a)(2) within seven (7) days.
5               2. Defendant shall have thirty (30) days from the date of filing of Plaintiff’s First Amended
6               Complaint to file and serve its response to Plaintiff’s First Amended Complaint.
7               3. The Status (Pretrial Scheduling) Conference set for 6/27/2024 is VACATED and
8               CONTINUED to 8/22/2024 at 2:30 PM before Chief Judge Kimberly J. Mueller, with the filing
9               of a Joint Status Report due fourteen (14) days prior. The August hearing will proceed by
10              video conferencing through the Zoom application. The Courtroom Deputy will provide
11              counsel with the hearing access information no less than 24 hours before the hearing.
12          IT IS SO ORDERED.
13   DATED: June 6, 2024.

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                 ORDER GRANTING STIPULATION TO FILE AMENDED COMPLAINT
